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MINUTE ENTRY
AFRICK, J.
January 25, 2019
JS-10 0:45

                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                               CIVIL ACTION

VERSUS                                                                    No. 12-859

MARLIN GUSMAN, ET AL.                                                    SECTION I

                                      ORDER

      A status conference was held on this date, with all parties represented. The

monitors and Tommie Vassel also participated. The Court and the participants

discussed pressing matters related to the medical and acute and subacute mental

health needs of the Orleans Justice Center (the “OJC”) and Elayn Hunt Correctional

Center (“Hunt”) prisoners.

      Currently, the OJC houses its male prisoners with significant mental health

issues at Hunt, a Louisiana Department of Corrections facility in St. Gabriel,

Louisiana. In August 2014, the Court approved Hunt’s use as a short-term housing

solution while the Orleans Parish Sheriff’s Office and the City of New Orleans (the

“City”), with the assistance of the monitors, collaborated on a long-term solution. In

a motion requesting today’s status conference, Independent Jail Compliance Director

Darnley R. Hodge, Sr. (“Director Hodge”) informed the Court that, according to

Louisiana Department of Public Safety and Corrections Secretary James Le Blanc,

Hunt will no longer be available to house OJC prisoners beginning on October 15,
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2019. 1 As another short-term solution, Director Hodge has proposed using the

Temporary Detention Center (“TDC”) to house and treat female and male OJC

prisoners with mental health needs.

      The situation facing prisoners with mental health needs—both the male

prisoners at Hunt and the female prisoners at the OJC—is dire: with Hunt no longer

available as of October 2019, there is no plan in place regarding housing and

treatment for male prisoners with significant mental health needs. Equally as

troubling is the fact that there simply is no facility to address the needs of female

prisoners with significant mental health issues. Despite repeated assurances from

the City, little progress has been made. As the Court advised the parties, action must

be taken on an emergency basis to avert a crisis.

      During the conference, the Court also emphasized the importance of a

permanent solution designed to provide constitutionally mandated mental health

treatment for all OJC prisoners. The Court reminded the City that all plans are

subject to review by the monitors and, ultimately, the Court.

      Lead monitor Margo Frasier advised the Court that, despite the problems

discussed during the conference, substantial progress has been made since Director

Hodge became Independent Jail Compliance Director.

      As discussed during the conference,



1 Director Hodge’s motion states that, on October 22, 2018, Orleans Parish Sheriff
Marlin Gusman received a letter from Secretary Le Blanc formally notifying him that,
beginning on October 15, 2019, Hunt will not be available to house OJC inmates with
mental health needs due to the state’s long-term plan to use the facility to house state
offenders with mental health needs. R. Doc. No. 1213-1, at 4–5.

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         IT IS ORDERED that the City of New Orleans, in collaboration with the

Independent Jail Compliance Director Darnley R. Hodge, Sr. and after consultation

with the monitors, shall submit by FEBRUARY 25, 2019 a specific written proposal

regarding a short-term solution to the mental health-related issues discussed at the

conference and set forth in this order. The proposal should detail the City and the

Compliance Director’s short-term plan with respect to prisoners needing acute and

subacute mental health treatment. It should include granular solutions and a

timeline, including precisely how the City intends to renovate the Temporary

Detection Center, when the renovations will begin, and when the Temporary

Detection Center will be available.

         IT IS FURTHER ORDERED that the City shall direct the architect chosen

to design the permanent facility described in the Supplemental Compliance Action

Plan, 2 filed into the record on January 4, 2017 (the “Phase III facility”), to begin the

programming phase of the Phase III facility as soon as possible and to update the

Court on the progress of those efforts at the next scheduled status conference.

         IT IS FURTHER ORDERED that an in-chambers status conference is

scheduled for MARCH 14, 2019 at 7:30 A.M.

         New Orleans, Louisiana, January 28, 2019.



                                         _______________________________________
                                                 LANCE M. AFRICK
                                         UNITED STATES DISTRICT JUDGE



2   R. Doc. No. 1106.

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